               Case 18-28630                     Doc 11              Filed 10/31/18 Entered 10/31/18 12:44:40                           Desc Main
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                                                                                                                                                          AMENDED
                                                            UNITED STATES BANKRUPTCY COURT
                                                                 WESTERN DISTRICT OF TENNESSEE

 In re:           Theodore E. Rufus                                                                                   Case No. 18-28630

 Debtors:                                                                                                             Chapter 13


                                                                          CHAPTER 13 PLAN


 ADDRESS:                 (1)    4886 Weaver Road                                                      (2)
                                 Memphis, TN 38109

PLAN PAYMENT:
      Debtor(1) shall pay $ 642.00                                                             (     weekly,     every two weeks,   semi-monthly, or          monthly, by:
          PAYROLL DEDUCTION From:                                        Unemployed                                          OR ( X ) DIRECT PAY

             Debtor(2) shall pay $                                                             (     weekly,     every two weeks,   semi-monthly, or          monthly, by:
                   PAYROLL DEDUCTION                                                                                         OR (        ) DIRECT PAY
                From:

1. THIS PLAN [Rule 3015.1 Notice]:

               (A) CONTAINS A NON-STANDARD PROVISION. [See plan provision #19]                                                           YES                      NO
               (B) LIMITS THE AMOUNT OF A SECURED CLAIM BASED ON A VALUATION                                                             YES                      NO
                   OF THE COLLATERAL FOR THE CLAIM. [See plan provisions #7 and #8]
               (C) AVOIDS A SECURITY INTEREST OR LIEN. [See plan provision #12].                                                         YES                      NO

2. ADMINISTRATIVE EXPENSES: Pay filing fee and Debtor(s)’ attorney fee pursuant to Confirmation Order.

3. AUTO INSURANCE:                       Included in Plan; OR            Not included in Plan; Debtor(s) to provide proof of insurance at §341meeting.

 4. DOMESTIC SUPPORT:                                                                                                                    Monthly Plan Payment:

                                               Paid by:   Debtor(s) directly           Wage Assignment, OR               Trustee to:
 None                                          ongoing payment begins                                                                    $
                                               Approximate arrearage:

5. PRIORITY CLAIMS:

 -NONE-                                                                   Amount                                                           $

6. HOME MORTGAGE CLAIMS:                                 Paid directly by Debtor(s); OR            Paid by Trustee to:

 Pennymac Loan Service                     ongoing payment begins January 1, 2019                                                        $476.00
                                           Approximate arrearage: 1,904.00                               Interest     0.00               $32.00

7. SECURED CLAIMS:

 [Retain lien 11 U.S.C. §1325 (a)(5)]                                   Value of Collateral:                   Rate of Interest          Monthly Plan Payment:
 None

8. SECURED AUTOMOBILE CLAIMS FOR DEBT INCURRED WITHIN 910 DAYS OF FILING, AND OTHER
   SECURED CLAIMS FOR DEBT INCURRED WITHIN ONE YEAR OF FILING:

 [Retain lien 11 U.S.C. §1325 (a)]                                      Value of Collateral:                   Rate of Interest          Monthly Plan Payment:
 -NONE-                                                                                                                                  $


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9. SECURED CLAIMS FOR WHICH COLLATERAL WILL BE SURRENDERED; STAY IS TERMINATED UPON
   CONFIRMATION FOR FOR THE LIMITED PURPOSE OF GAINING POSSESSION AND COMMERCIALLY
   REASONABLE DISPOSAL OF COLLATERAL:

 -NONE-                                                                     Collateral:

10. SPECIAL CLASS UNSECURED CLAIMS:

                                                                        Amount:                        Rate of Interest      Monthly Plan Payment:
 -NONE-                                                                                                                      $

11. STUDENT LOAN CLAIMS AND OTHER LONG TERM CLAIMS:

 None                                                                                     Not provided for   OR           General unsecured creditor

12. THE JUDICIAL LIENS OR NON-POSSESSORY, NON-PURCHASE MONEY SECURITY INTEREST(S) HELD BY
    THE FOLLOWING CREDITORS ARE AVOIDED TO THE EXTENT ALLOWABLE PURSUANT TO 11 U.S.C.§522(f):

 -NONE-

13. ABSENT A SPECIFIC COURT ORDER OTHERWISE, ALL TIMELY FILED CLAIMS, OTHER THAN THOSE
   SPECIFICALLY PROVIDED FOR ABOVE, SHALL BE PAID AS GENERAL UNSECURED CLAIMS.


14. ESTIMATED TOTAL GENERAL UNSECURED CLAIMS: $2,096.00


15. THE PERCENTAGE TO BE PAID WITH RESPECT TO NON-PRIORITY, GENERAL UNSECURED CLAIMS IS:

                             %, OR,
                     THE TRUSTEE SHALL DETERMINE THE PERCENTAGE TO BE PAID AFTER THE PASSING OF THE
                     FINAL BAR DATE.

16. THIS PLAN ASSUMES OR REJECTS EXECUTORY CONTRACTS:


 None                                                                                                              Assumes OR                    Rejects.

17. COMPLETION: Plan shall be completed upon payment of the above, approximately 60 months.

18. FAILURE TO TIMELY FILE A WRITTEN OBJECTION TO CONFIRMATION SHALL BE DEEMED ACCEPTANCE
   OF PLAN.

19. NON-STANDARD PROVISION(S):


      ANY NON-STANDARD PROVISION STATED ELSEWHERE IS VOID.

20. CERTIFICATION: THIS PLAN CONTAINS NO NON-STANDARD PROVISIONS EXCEPT THOSE STATED IN
   PROVISION 19.


 /s/ Michael J. Baloga                                                                               Date October 31, 2018                             .
 Michael J. Baloga
 Debtor(s)’ Attorney Signature or Pro Se Debtor(s)’ Signature(s)




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